Case 1:21-cr-00399-RDM Document 145-2 Filed 07/07/23 Page 1 of 6




              Exhibit ‘B’
DocuSign Envelope ID: D49FFE64-EB93-426A-87FD-68B59A8A4319
                       Case 1:21-cr-00399-RDM Document 145-2 Filed 07/07/23 Page 2 of 6




                                              UNITED STATES DISTRICT COURT
                                                  DISTRICT OF COLUMBIA

                 UNITED STATES OF AMERICA
                                                                 No. 21-cr-399 (RDM)
                               Plaintiff,
                 v.

                 ROMAN STERLINGOV

                               Defendant.

                         SUMMARY OF QUALIFICATIONS AND EXPECTED TESTIMONY FOR
                                            DR. ITIEL DROR


                       Mr. Sterlingov intends to call DR. ITIEL DROR (“Dr. Dror”) as an expert witness. His

            qualifications, along with review and analysis of relevant records, reports, facts, and evidence set

            forth the basis for his expected testimony. His CV has been sent to the Court and the

            Government via email along with a list of the cases that he has testified in during the last four

            years.

                       Dr. Dror’s testimony is based on his review of discovery in this case, and his academic

            and professional experiences. Dr. Dror is a Principal Consultant and Researcher with Cognitive

            Consultants International (“CCI-HQ”) through which he provides research, training, and

            consultancy services to organizations around the world concentrating on minimizing bias and

            error in expert decision making and investigations. Dr. Dror holds a Ph.D. and a master’s degree

            from Harvard University in Psychology.1

                       Dr. Dror trained the forensic digital experts at the Serious Fraud Office (SFO) in the

            United Kingdom (the U.K. governmental body investigating serious fraud, where digital

            evidence is critical). He was commissioned by the United States Attorney’s Office in this District



            1
                (See Dkt. 122, Ex. C.)


                                                                1
DocuSign Envelope ID: D49FFE64-EB93-426A-87FD-68B59A8A4319
                     Case 1:21-cr-00399-RDM Document 145-2 Filed 07/07/23 Page 3 of 6




            for a Daubert Hearing. Dr. Dror trains forensic experts at top investigative agencies all over the

            world, including the United States, about bias in digital and other forensic domains. He has been

            commissioned to train forensic experts at the FBI, NYPD, LAPD, and many other agencies, on

            how to minimize biases and errors in their investigations. He has been invited by the National

            Institute of Justice and the Department of Justice, as well as many other agencies, to deliver

            keynote presentations. Recently, the Attorney General of the State of Maryland has asked Dr.

            Dror to be part of the design team for the review of potential bias in forensic decisions made

            about deaths of people while in police custody.

                     Dr. Dror has published over 150 articles which have been cited over 11,000 times, with

            an h-index of 56 (i.e., 56 articles that are cited over 56 times), these include articles with over

            600 citations, and over 30 articles with over 100 citations. Many of the articles appear on the

            most viewed and most cited lists of several journals. Furthermore, his articles and research have

            been cited in various court cases,2 as well as by the U.S. National Commission on Forensic

            Science, the National Academy of Science report on forensic science, and the President's Council

            of Advisors on Science and Technology’s report on forensic science, who, in addion to citing his

            research, invited Dr. Dror to provide expert testimony in-person.3

                     Dr. Dror has been an Associate Editor and on the Board of Editors for multiple journals,

            including Forensic Science International: Mind and Law, Science & Justice, Journal of

            Experimental Psychology: Applied, Journal of Applied Memory & Cognition, and Pragmatics &

            Cognition.




            2
              See e.g. Regina v. Dlugosz, Pickering, and MDS (2013) (United Kingdom Court of Appeal); Commonwealth vs.
            Gambora (2012) (Supreme Court of Massachusetts).
            3
              (See Dkt. 122, Exs. D-F).


                                                                 2
DocuSign Envelope ID: D49FFE64-EB93-426A-87FD-68B59A8A4319
                       Case 1:21-cr-00399-RDM Document 145-2 Filed 07/07/23 Page 4 of 6




                       Top scientific journals such as Science and Nature, as well as media outlets like The

            Economist, the New York Times, the Guardian and the London Times cover Dr. Dror’s work and

            research findings on how bias impacts forensic science decisions, and ways to minimize such

            biases.4

                       Specifically in digital investigation and digital forensic analyses, Dr. Dror has published a

            number of peer reviewed scientific articles, published, for example, in Digital Investigations an

            article on “Cognitive and human factors in digital forensics: Problems, challenges, and the way

            forward” (Digital Investigation, 2019, 29, 101-108), and “A Hierarchy of Expert Performance

            (HEP) applied to digital forensics: Reliability and biasability in digital forensics decision

            making” (Forensic Science International: Digital Investigation, 2021, 37, 301175). At the July

            19, 2023, hearing on Motions in Limine and Daubert challenges, as well as at trial, the Defense

            expects Dr. Dror to testify regarding the following:

                   1. The Defense expects Dr. Dror to testify generally about cognitive bias in forensic

                       science, and particularly about the role of confirmation and other biases in digital forensic

                       investigations.

                   2. He will explain the concept of cognitive bias (in contrast to the everyday notion of

                       intentional and discriminatory biases).

                   3. He will explain the current state of the research and scientific standards related to

                       cognitive bias in relation to forensic decisions.

                   4. He will explain how the brain processes decisions, and how architecture constraints give

                       rise to biases.




            4
                (See Dkt. 122, Ex. G).


                                                                 3
DocuSign Envelope ID: D49FFE64-EB93-426A-87FD-68B59A8A4319
                     Case 1:21-cr-00399-RDM Document 145-2 Filed 07/07/23 Page 5 of 6




                 5. He will explain the eight sources of cognitive and human error that exist specifically

                     within the framework of digital forensics, and the six fallacies about bias.

                 6. The Defense expects Dr. Dror to testify about confirmation and other biases in digital

                     forensics and how they impact the underlying heuristic assumptions at play in the use of

                     Chainalysis Reactor and other blockchain forensics involved in this case. He will also

                     testify to the impact of cognitive bias and confirmation bias on the forensic analysis in

                     general on this case including the Mt. Gox data, and the IP address attributions made by

                     the Government to Mr. Sterlingov. He will also testify as to the distorting effects of the

                     financial and status incentives involved in the Government’s use of private forensic

                     investigators like Chainalysis and the Government’s extensive use of publicity to

                     promote this case.

                 7. He will explain how confirmation and other biases that impact forensic experts, and how

                     they are at play in this case.

                 8. He will explain how confirmation and other biases can taint an investigation.

                 9. He will explain evidence of confirmation bias in the Government’s discovery.

                 10. He will explain how escalation of commitment can lead to inaccurate conclusions

                     contrary to the evidence, and explain how just such an escalation of commitment

                     occurred in this case.

                 11. The Defense expects Dr. Dror to testify to the cognitive and human factors in digital

                     forensics.

                 12. He will explain how miscarriages of justice and misleading evidence highlight human

                     error as an issue within forensic science, and the threat they pose in this case.




                                                               4
DocuSign Envelope ID: D49FFE64-EB93-426A-87FD-68B59A8A4319
                     Case 1:21-cr-00399-RDM Document 145-2 Filed 07/07/23 Page 6 of 6




                 13. He will explain the issues and the fertile ground for biases created by the lack of

                     objective standards in blockchain forensics and how the lack of any scientific evidence

                     for the accuracy of the blockchain forensics used in this case, and the total lack of any

                     evidence as to the statistical error rates, false positive rates or false negative rates for

                     Chainalysis Reactor impacts the cognitive and confirmation biases at play in this case.

                 14. Testimony will be based on the Government’s disclosures, the Government’s experts’

                     testimony and reports, as well as his extensive experience as one of the world’s leading

                     experts in cognitive and confirmation biases in forensic practices.

                 15. The Defense expects Dr. Dror to testify in rebuttal to the government's expert testimony.

                 16. The content of Dr. Dror’s rebuttal testimony is contingent on the substance of testimony

                     from the witnesses produced by the Government in the Hearings and at trial.




                      Witness Attestation

                      I, Dr. Itiel Dror, have reviewed and approve the contents of this
                      filing.




                                                                       7/7/2023
                      ____________________                             ______________

                      Dr. Itiel Dror                                   Date




                                                                 5
